
McFabland, J.,
delivered the opinion of the Court.
This action was brought for assault and battery and for throwing the plaintiff and his wife and property out of their house.
The defendant pleaded not guilty, and a special plea — averring that at the time he was deputy sheriff of the county, and that a writ of possession had come to his hands, issued by two justices, founded upon a final judgment rendered in a cause theretofore pending and determined, wherein Diana White was plaintiff and Barbary Pettit was defendant, and in which writ he was commanded to put Diana White in peaceable possession of certain premises, and that the supposed trespasses were committed by him, if at all, in the. execution of this writ, and not otherwise.
A demurrer to this plea was overruled, and the plaintiffs refusing to file a formal replication, the court gave judgment for the defendant, and the plaintiff has appealed in error.
The demurrer, though inartificial, may be regarded as special enough to raise the question as to the sufficiency of the plea. Tested by the most liberal rules consistent with any reasonable degree of certainty in pleading, this plea is wholly-insufficient.
The declaration avers that the defendant assaulted the plaintiff and his wife and threw them and their property out of their hpuse. The reply, of the defendant to this is, that he was a deputy sheriff, and had a writ commanding him to put Diana White in possession of certain premises, which she had recovered *11in a suit against Barbary Pettit, and that he committed the trespass in the execution of this writ.
It is not averred that the premises described in the writ, were the premises from which the plaintiffs were thrown — and if it b¿ conceded that the premises are the same, there is no state, of facts alleged, showing that the plaintiffs were subject to be dispossessed under a writ against Barbary Pettit. TSTor is any state of facts alleged from which the court can see that the trespass was justified under the authority of this writ, unless we supply by inference important allegations not found in the plea. The plea should at least contain, with reasonable certainty, a succinct statement of the facts relied upon as a defense to the action.
The judgment must be reversed, the demurrer to the plea sustained, and the cause remanded for further proceeding.
